         Case 3:19-cv-01209-JMM Document 9 Filed 12/17/20 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 CHRISTINA PASSIMENT,
                                               Civil Action No. 3:19-cv-01209
                            Plaintiff,

              v.                                      Electronically Filed

 PNC BANK, N.A.,

                            Defendant.



                    JOINT STIPULATION OF DISMISSAL
      COMES NOW Plaintiff, Christina Passiment (“Plaintiff”), and Defendant,

PNC Bank, N.A. (“PNC”), and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff

against PNC in the above-styled action, with Plaintiff and PNC to bear their own

attorney’s fees, costs, and expenses.


      Respectfully submitted this 17th day of December, 2020.


 /s/ Brett Freeman                           /s/ Jenny N. Perkins
 Brett Freeman, Esquire                      Jenny N. Perkins, Esquire
 Sabatini Freeman, LLC                       Ballard Spahr LLP
 216 North Blakely Street                    1735 Market Street, 51st Floor
 Dunmore, PA 18512                           Philadelphia, PA 19103

 Attorney for Plaintiff                      Attorney for PNC Bank, N.A.
